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                                     ORDERED.
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     Dated: January 30, 2017                   .
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

 IN RE:                                                    CASE NO.: 6:16-bk-07461-RAC
                                                                            CHAPTER 7
 Andrew John Lewis,

    Debtor,

 Deborah Anne Lewis,

    Joint Debtor.

 ____________________________________/

        AGREED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS CASE came on consideration upon consent on NATIONSTAR MORTGAGE

LLC’s (“Secured Creditor”) Motion for Relief from Stay (Docket No.7). Accordingly, it is:

ORDERED:

   1.     Secured Creditor's Motion for Relief from Automatic Stay is GRANTED.

   2.     The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured




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Creditor’s interest in the following property located at 465 AUBORN AVENUE,

BROOKHAVEN, NY 11967 in Suffolk County, New York, and legally described as:

           ALL THAT CERTAIN PLOT, PIECE OR PARCEL OF LAND, SITUATE, LYING
           AND BEING AT YAPHANK, TOWN OF BROOKHAVEN, COUNTY OF
           SUFFOLK AND STATE OF, NEW YORK, KNOW AND DESIGNATED AS LOT
           OR PLOT NO. 1126 AS SHOWN ON A CERTAIN MAP ENTITLED, "MAP OF
           MASTIC ACRES, UNIT 13" MADE BY HAVENS AND PELLETREAU,
           LICENSED SURVEYORS, PATCHOGUE, LONG ISLAND, N.Y. DATED
           MARCH 20, 1947, AND FILED IN THE OFFICE OF THE CLERK OF THE
           COUNTY OF SUFFOLK ON JULY 11, 1947 AS MAP NO. 1557.
           BEGINNING AT A POINT ON THE WESTERLY SIDE OF AUBORN AVENUE,
           DISTANT 450.00 FEET SOUTHERLY FROM THE CORNER FORMED BY THE
           INTERSECTION OF THE SOUTHERLY SIDE OF AUBORN AVENUE, 50.00
           FEET;

           RUNNING THENCE SOUTH 20 DEGREES 18 MINUTES 50 SECONDS EAST
           ALONG THE WESTERLY SIDE OF AUBORN AVENUE, 50.00 FEET;
           THENCE SOUTH 69 DEGREES 41 MINUTES 10 SECONDS WEST, 217.80
           FEET; THENCE NORTH 20 DEGREES 18 MINUTES 50 SECONDS WEST, 50.00
           FEET;

           THENCE NORTH 69 DEGREES 41 MINUTES 10 SECONDS EAST, 217.80 FEET
           TO THE WESTERLY SIDE OF AUBORN AVENUE AT THE POINT OR PLACE
           OF BEGINNING.

           TAX MAP NUMBER: 0200-642.00-02.00-044.000


   3.      The Order Granting Relief from Stay is entered for the sole purpose of allowing

Secured Creditor to exercise any and all in rem remedies against the property described above.

Secured Creditor shall not seek an in personam judgment against Debtor(s).

   4.      Secured Creditor is further granted relief in order to contact the Debtor(s) by

telephone or written correspondence in order to discuss the possibility of a forbearance

agreement, loan modification, refinance agreement or loan workout/loss mitigation agreement.

   5.      Attorneys’ fees in the amount of $350.00; and costs in the amount of $176.00 are
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awarded for the prosecution of this Motion for Relief from Stay, but are not recoverable from the

Debtor(s) or the Debtor(s)’ Bankruptcy estate.

   6.       The effect of the relief granted by this Order shall be stayed for ninety (90) days from

the date which the order is entered to allow the Trustee time to market and sell the subject

property.

                                                 ###
Attorney, Bouavone Amphone, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.
